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       Name            Number
Jemell Rayam         443-314-3621
                     410-375-0685
Jemell Rayam (BPD)
Eric Snell           267-228-5466
David Hanni          610-392-5806
Kyle Harris          973-902-4364
Wayne Jenkins        443-955-8818
Momodo Gondo         443-513-1994
Lenard Palmer        267-317-6951
Chattarika Dubois    267-228-5049
Demetria Snell       267-471-1889
Byron Snell          267-850-7193
Ayesha Hood          267-528-5321
Thomas Finnegan      443-801-5005
Tyje                 610-803-2514
Kai                  646-749-8059
Breezy               267-563-0272
Wraith               267-423-6203
Unknown              484-425-2474
Petti                267-270-7289
Unknown              267-776-5995
NJ                   610-517-2600
Snow                 407-960-9897
Jay                  267-242-6696
Sade                 267-304-9758
G-Ball               267-312-9798
Unknown              267-779-1713
Sylvia               215-738-2468


       Source            Date         Time        From                To                                                        Message
    Palmer Phone      11/7/2013      6:26 PM   Lenard Palmer       Eric Snell    Yo see if u can get some ammo
    Palmer Phone      8/10/2014     10:05 PM   Lenard Palmer       Eric Snell    Yo u think you'll be able to get me a 45 this week?


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   Source          Date       Time         From               To                                                          Message
Palmer Phone    8/10/2014   10:12 PM     Eric Snell      Lenard Palmer   I don't know cause I don't have any days off. I got training tomorrow. Mu can go before I go to work.
Palmer Phone    8/10/2014   10:15 PM   Lenard Palmer       Eric Snell    Well just let me know when u free
Palmer Phone    8/10/2014   10:24 PM     Eric Snell      Lenard Palmer   Ok
Palmer Phone   12/10/2014   3:19 PM    Lenard Palmer       Eric Snell    Yo can you price some 5.7x28 ammo for me
Palmer Phone   12/10/2014   3:35 PM      Eric Snell      Lenard Palmer   I don't get a discount on ammo
Palmer Phone   12/10/2014   3:35 PM    Lenard Palmer       Eric Snell    Oh ard
Palmer Phone   12/10/2014   3:36 PM      Eric Snell      Lenard Palmer   I mean if you find somewhere that do let me know. Take a pic of that gun for me
                                                                         [Attachments IMG_2148.JPG & IMG_2149.JPG]



Palmer Phone   12/10/2014   3:39 PM    Lenard Palmer       Eric Snell




Palmer Phone   12/10/2014   3:39 PM      Eric Snell      Lenard Palmer   U took to range?
Palmer Phone   12/10/2014   3:41 PM    Lenard Palmer       Eric Snell    Naw not yet
Palmer Phone   12/10/2014   3:41 PM    Lenard Palmer       Eric Snell    I need to tho
                                                                         [Attachment IMG_2257]



Palmer Phone   3/11/2015    4:45 PM    Lenard Palmer          Kai




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  Source         Date       Time          From               To                                                         Message
                                                                        This is the ones she got they are 10 for $2.25 [Attachment IMG_7353.JPG]



Palmer Phone   4/9/2015    5:38 PM    Demetria Snell    Lenard Palmer




Palmer Phone    4/9/2015    9:00 PM   Lenard Palmer         Tyje        Yo I got quaters of hard for 350
Palmer Phone    4/9/2015    9:05 PM       Tyje          Lenard Palmer   I'm fuck up but i need that
Palmer Phone   5/22/2015    4:41 PM   Lenard Palmer       Eric Snell    Yo u ever get anymore practice ammo?
Palmer Phone   5/22/2015    4:42 PM     Eric Snell      Lenard Palmer   Yea
Palmer Phone   5/22/2015    4:42 PM   Lenard Palmer       Eric Snell    U got a box or two u can spare?
Palmer Phone   5/22/2015    4:50 PM     Eric Snell      Lenard Palmer   Yea at my house in the basement closet. Should be in a box on the floor
Palmer Phone   5/22/2015    4:50 PM   Lenard Palmer       Eric Snell    Ard thanks
Palmer Phone   7/13/2015    4:32 PM   Lenard Palmer        Breezy       Oh ard. But look I got some purple az coming that’s going for 850 a pound
Palmer Phone   7/13/2015    4:33 PM      Breezy         Lenard Palmer   I need a tester bro and how much a O
Palmer Phone   7/13/2015    4:34 PM   Lenard Palmer        Breezy       Its just az ain't nothing wrong with it
Palmer Phone   7/13/2015    4:35 PM   Lenard Palmer        Breezy       These niggas ain't gon break that down at that number that’s why its cheap
Palmer Phone   7/13/2015    4:36 PM      Breezy         Lenard Palmer   What's wrong wit it why it's only 850
Palmer Phone   7/13/2015    4:39 PM   Lenard Palmer        Breezy       But if I do the O its gonna be 150
Palmer Phone   7/13/2015    4:46 PM      Breezy         Lenard Palmer   Send me a pic of tht shit if you got it, and is it some gas??
Palmer Phone   7/13/2015    5:15 PM   Lenard Palmer        Breezy       Once I get it I got u
Palmer Phone   7/13/2015    5:15 PM      Breezy         Lenard Palmer   Cool
Palmer Phone   7/18/2015   11:15 AM   Lenard Palmer        Breezy       Yo bro
Palmer Phone   7/18/2015   11:15 AM      Breezy         Lenard Palmer   Yo bro
Palmer Phone   7/18/2015   11:16 AM   Lenard Palmer        Breezy       Let them niggas know I got some white in too
Palmer Phone   7/18/2015   11:16 AM      Breezy         Lenard Palmer   Rd
Palmer Phone   7/18/2015   11:26 AM      Breezy         Lenard Palmer   Did you ever get pic of tht bud doe?
Palmer Phone   7/18/2015   11:28 AM   Lenard Palmer        Breezy       Yea umma send it to u in a minute
Palmer Phone   7/18/2015   11:28 AM      Breezy         Lenard Palmer   Rd
Palmer Phone   7/18/2015    7:10 PM   Lenard Palmer        Breezy       Yo bro I got that green in this shit soft and stank
Palmer Phone   7/18/2015    7:13 PM      Breezy         Lenard Palmer   Send a pic

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   Source         Date       Time         From                To                                                          Message
Palmer Phone   7/18/2015    7:20 PM       Breezy         Lenard Palmer   What's tht regular
Palmer Phone   7/18/2015    7:21 PM    Lenard Palmer        Breezy       Its purple az
Palmer Phone   7/18/2015    7:22 PM    Lenard Palmer        Breezy       Its mid or regular but they said it smoke good
Palmer Phone   7/18/2015    7:37 PM    Lenard Palmer        Breezy       Just try to push it on these niggas for me
Palmer Phone   7/18/2015    7:42 PM       Breezy         Lenard Palmer   Rd bro I got you
Palmer Phone   7/19/2015    6:58 PM       Breezy         Lenard Palmer   Yo bro you got one?
Palmer Phone   7/19/2015    6:58 PM       Breezy         Lenard Palmer   I need a pound
Palmer Phone   7/19/2015    7:07 PM    Lenard Palmer        Breezy       Yea
Palmer Phone   7/19/2015    7:08 PM       Breezy         Lenard Palmer   Need one
                                                                         [Attachment IMG_2465.JPG]




Palmer Phone   11/8/2015    8:40 PM    Lenard Palmer        Breezy




Palmer Phone    11/8/2015    8:41 PM      Breezy         Lenard Palmer   Wya bring me a dime of tht shit
Palmer Phone    11/8/2015    8:43 PM   Lenard Palmer        Breezy       The smallest i got is a 20 but i really only got O
Palmer Phone    11/8/2015    8:44 PM      Breezy         Lenard Palmer   Bring me tht 20 then bro, and how much them os going so I can spread word
Palmer Phone    11/8/2015    8:45 PM   Lenard Palmer        Breezy       225-250. Wya
Palmer Phone    11/8/2015    8:45 PM      Breezy         Lenard Palmer   I'm in north at 3017 n 22nd st Sipz bar
Palmer Phone    11/8/2015    9:08 PM   Lenard Palmer        Breezy       Which one you want?
Palmer Phone    11/8/2015    9:08 PM      Breezy         Lenard Palmer   Tht purple shit
Palmer Phone    11/8/2015    9:11 PM   Lenard Palmer        Breezy       Ard
Palmer Phone    11/8/2015    9:46 PM   Lenard Palmer        Breezy       Yo
Palmer Phone    11/8/2015    9:46 PM      Breezy         Lenard Palmer   Yo bro
Palmer Phone    11/8/2015    9:46 PM   Lenard Palmer        Breezy       Im outside
Palmer Phone   11/19/2015   10:08 AM    Byron Snell      Lenard Palmer   It's 773 I'll give you the buck when you get back
Palmer Phone   11/27/2015    9:02 PM   Lenard Palmer        Breezy       Whats good bro u get that word out?
Palmer Phone   11/27/2015   10:10 PM      Breezy         Lenard Palmer   Yeah I been planting word, a lot of niggas been hitting me up for percs
Palmer Phone   11/28/2015   10:19 PM   Lenard Palmer        Breezy       Yo we gotta make that happen I can get the percs too but I need the weed to jump

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  Source         Date        Time         From                To                                                        Message
                                                                         [IMG_2482.JPG]



Palmer Phone   11/30/2015   8:06 PM    Lenard Palmer        Wraith




                                                                         [IMG_2470.JPG]




Palmer Phone   12/1/2015    11:56 AM   Lenard Palmer     484-425-2474




Palmer Phone   12/1/2015    11:57 AM   484-425-2474      Lenard Palmer   Sheesh , that's some kill
Palmer Phone   12/1/2015    11:57 AM   Lenard Palmer     484-425-2474    Yea nigga
Palmer Phone   12/1/2015    11:57 AM   484-425-2474      Lenard Palmer   I might fuck with that , it's just I'm getting my oz for $190-$200
Palmer Phone   12/1/2015    11:58 AM   484-425-2474      Lenard Palmer   But that shit right there (big smoke voice)
Palmer Phone   12/1/2015    12:00 PM   Lenard Palmer     484-425-2474    Lol yea i feel u but i cant do them numbers maybe 225 at the least
Palmer Phone   12/1/2015    12:18 PM   484-425-2474      Lenard Palmer   I'll def let you know by tonite
Palmer Phone   12/1/2015    12:19 PM   Lenard Palmer     484-425-2474    Bet
Palmer Phone   12/1/2015    12:22 PM   484-425-2474      Lenard Palmer   You're going to be up around 11-12 ?
               12/1/2015    12:22 PM   Lenard Palmer     484-425-2474    Nigga im always up
Palmer Phone   12/1/2015    12:23 PM   484-425-2474      Lenard Palmer   Say less
Palmer Phone    1/5/2016    12:41 PM      Breezy         Lenard Palmer   Bro I need half o
Palmer Phone    2/5/2016    12:42 PM    Byron Snell      Lenard Palmer   I'll be up there later today to pick up the car and money
Palmer Phone    2/5/2016    12:51 PM   Lenard Palmer      Byron Snell    Ok


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   Source        Date       Time         From                To                                                       Message
Palmer Phone   2/5/2016    3:49 PM     Byron Snell      Lenard Palmer   I'm going to send lmair to get that from you…are you there
Palmer Phone   2/5/2016    4:12 PM    Lenard Palmer      Byron Snell    Yea
                                                                        Yo I need some protection down the shop so if you want you can take it out you name and I will see if
Palmer Phone   2/11/2016   7:31 PM     Byron Snell      Lenard Palmer
                                                                        Tyge will put it in his name
                                                                        IMG_0307.JPG



Palmer Phone   3/2/2016    7:15 PM     Byron Snell      Lenard Palmer




Palmer Phone   3/2/2016    8:13 PM    Lenard Palmer      Byron Snell    That look like some fire
Palmer Phone   3/2/2016    8:14 PM     Byron Snell      Lenard Palmer   Call your people up
                                                                        IMG_0307.JPG



Palmer Phone   3/3/2016    9:32 AM    Lenard Palmer         Petti




                                                                        IMG_0307.JPG



Palmer Phone   3/3/2016    12:36 PM   Lenard Palmer     267-776-5995




Palmer Phone   3/3/2016    1:14 PM    267-776-5995      Lenard Palmer   Where that purple at ?
Palmer Phone   3/3/2016    1:18 PM    Lenard Palmer     267-776-5995    I don’t think thats in
Palmer Phone   3/4/2016    5:48 PM      Eric Snell      Lenard Palmer   1:53 Cellular Connection
Palmer Phone   3/4/2016    6:01 PM    Lenard Palmer       Eric Snell    0:48 Cellular Connection

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   Source         Date       Time         From               To                                                         Message
Palmer Phone   4/11/2016   10:38 AM     Eric Snell      Lenard Palmer   Quilly getting jumped.
Palmer Phone   4/11/2016   10:41 AM   Lenard Palmer       Eric Snell    Smh
Palmer Phone   4/11/2016   10:51 AM     Eric Snell      Lenard Palmer   This why I be telling Meir to keep his circle tight. Them fuck niggas he hanging around
Palmer Phone   4/11/2016   11:15 AM   Lenard Palmer       Eric Snell    7:20 Cellular Connection
Palmer Phone   4/14/2016    1:57 PM   Lenard Palmer          NJ         Hey this is Jamal just checking in on you guys
Palmer Phone   4/14/2016    2:17 PM        NJ           Lenard Palmer   3:24 Cellular Connection
Palmer Phone   4/15/2016    5:24 PM   Lenard Palmer          NJ         Hey I jus talk to him si I'm trying to put a demo together for u
Palmer Phone   4/15/2016    5:26 PM        NJ           Lenard Palmer   Ok, just let me know.
Palmer Phone   4/15/2016    5:20 PM   Lenard Palmer         Snow        Yo that d came in?
Palmer Phone   4/15/2016    5:21 PM       Snow          Lenard Palmer   Yeah
Palmer Phone   4/15/2016    5:22 PM   Lenard Palmer         Snow        See if u can get a samp for me
Palmer Phone   4/15/2016    5:22 PM       Snow          Lenard Palmer   Ard
                                                                        Let em rest When u niggas gonna learn u gotta get out here and grind man I love it in these streets I
                                                                        keep that money on mind wake and brush my teeth grab my strap and hit the streets First off see I'm a
                                                                        monster and a pimp just like my father umma hustle like my uncles and will kill u if i gotta bitch I'm
Palmer Phone   4/19/2015   11:25 AM      Notes              Notes       from the hood see there ain't no other way u know i got that 40 every time i make a play snowzay gon
                                                                        run it back man shout my nigga black we was really in the trap pumping diesel like its gas ak on the
                                                                        table pyrex filled with water come buy a pint of lean ill throw in a baby bottle man i really get in uncle
                                                                        servin 5 to 10 cousin just came home




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  Source         Date       Time         From                  To                                                           Message
                                                                          Feel This Don’t call it a comeback cause I ain't back from nothing just stop rapping for a minute and
                                                                          went back to hustling and I switch flows how u do that there and all the dope boys like gone and talk
                                                                          that yea put some water in the pot tell my cousin thanks a lot drop some bake in the bitch until i turn
                                                                          into some pop then give it to my youngin tell him distribute on the block and don't come back until
                                                                          the money in a not........ but i'm racked up incase u ain't know i ain't need that money i just blew that
                                                                          dough took a trip out to cali try to move that dope but the shit to slow u know how that go Jamacian
                                                                          homie in the bay love to play with the ice u can play with your life homie gon roll the dice if his ass
                                                                          take a loss then he gon pay the price he ain't giving up what black gone and shoot him twice but these
Palmer Phone   4/19/2015   11:29 AM      Notes                Notes       rap niggas just so facade and my rolly rose gold ain't no mirage bitches say im too cool thats my
                                                                          colder side a good young nigga with a older squad A.M.G nigga umma tatt it on my face this how u
                                                                          fuck em up nigga go and get the wraith with the suicide doors and then the paper plate and i bet he
                                                                          call fred like i know he moving weight but fucked the feds they can come for me cause i aint never
                                                                          meet a nigga that could run with me got a bad red bone that will take one for me and a couple young
                                                                          niggas that'll hold a drum for me i said motherfuck the feds they can come for me cause i aint never
                                                                          met a nigga that can run with me i got a bad red bone that'll take one for me and a couple young bulls
                                                                          that buss they gun for D What other young nigga yall know that can talk like this naw wait a minute
                                                                          black let me talk my shit
Palmer Phone   4/23/2016   2:07 PM    Lenard Palmer            NJ         Hey I have what we talked about so let me know when you are coming down
Palmer Phone   4/23/2016   2:24 PM         NJ             Lenard Palmer   I'll call u in 5 min
Palmer Phone   4/23/2016   2:24 PM    Lenard Palmer            NJ         Ok
Palmer Phone   4/23/2016   2:27 PM         NJ             Lenard Palmer   1:46 Cellular Connection
Palmer Phone   4/23/2016   3:06 PM    Lenard Palmer            NJ         :46 Cellular Connection
                                                                          Hey, we're gonna come down there this evening, I'm just not sure what time. Probably around 5 or 6.
Palmer Phone   4/25/2016   1:38 PM         NJ             Lenard Palmer
                                                                          Ok?
Palmer Phone   4/25/2016   1:39 PM    Lenard Palmer            NJ         Yes that’s fine. Im up cottonman
Palmer Phone   4/25/2016   1:41 PM    Lenard Palmer            NJ         But I need to know how u wanna do this because I only have the demo
Palmer Phone   4/25/2016   1:41 PM         NJ             Lenard Palmer   Ok, I'' let you know when we're leaving
Palmer Phone   4/25/2016   4:37 PM    Lenard Palmer            NJ         I might be down girad ave when you guys get down here
Palmer Phone   4/25/2016   4:38 PM         NJ             Lenard Palmer   Ok, be there around 6:00
Palmer Phone   4/25/2016   4:39 PM    Lenard Palmer            NJ         Ok meet me on 31st
Palmer Phone   4/25/2016   4:41 PM    Lenard Palmer            NJ         Ok
Palmer Phone   4/25/2016   4:45 PM         NJ             Lenard Palmer   31st+ what?
Palmer Phone   4/25/2016   4:45 PM    Lenard Palmer            NJ         Girad by the plaza the usual spot


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   Source         Date      Time        From                  To                                                        Message
Palmer Phone   4/25/2016   4:47 PM        NJ             Lenard Palmer   K
Palmer Phone   4/25/2016   5:10 PM        NJ             Lenard Palmer   Will u be there in 20 mins?
Palmer Phone   4/25/2016   5:11 PM   Lenard Palmer            NJ         Like 30
Palmer Phone   4/25/2016   5:15 PM        NJ             Lenard Palmer   R u on ur way? We're only 5 mins away from the bridge, & can't be sitting there for a long time
                                                                         Yea. But I have to stop at 18th and spring garden first to drop somebody off if u want to meet around
Palmer Phone   4/25/2016   5:22 PM   Lenard Palmer            NJ
                                                                         there we can
Palmer Phone   4/25/2016   5:23 PM   Lenard Palmer            NJ         Im on girad now
Palmer Phone   4/25/2016   5:26 PM        NJ             Lenard Palmer   Ok, we'll be at that store, @ 31st, in about 15
Palmer Phone   4/25/2016   5:34 PM   Lenard Palmer           Snow        U at the spot bro?
Palmer Phone   4/25/2016   5:34 PM       Snow            Lenard Palmer   Yeah
Palmer Phone   4/25/2016   5:34 PM   Lenard Palmer           Snow        Ard im bout to come thru
Palmer Phone   4/25/2017   5:34 PM       Snow            Lenard Palmer   Rd
Palmer Phone   4/25/2016   6:00 PM   Lenard Palmer           Snow        At the door
Palmer Phone   4/26/2016   2:09 PM   Lenard Palmer            NJ         Hey did you ever get a chance to check that out?
                                                                         I'm sorry it took me so long to get back to u, but I didn''t know what to say to u. I wanted to wait a
                                                                         little while (this mrng) to make sure that my system was cleared up, so I did, & then nothing
Palmer Phone   4/26/2016   8:18 PM        NJ             Lenard Palmer
                                                                         happened. I just didn't know what to say to u. Whaatever that stuff is, I hope that you didn't invest
                                                                         alot into it. Neither of us like it. There's something wrong with it. I gotta go, talk to you soon
Palmer Phone   4/26/2016   8:21 PM   Lenard Palmer            NJ         I didn't I only got that for y'all to check out so its fine
Palmer Phone   4/26/2016   8:24 PM        NJ             Lenard Palmer   Ok, because it is not good. Talk soon
Palmer Phone   4/26/2016   8:24 PM   Lenard Palmer            NJ         Ok
Palmer Phone   4/27/2016   7:14 PM        NJ             Lenard Palmer   Dude, u have to find out what was in that. I've had a nose bleed for 24 hrs. Please let me know.
Palmer Phone    5/7/2016   2:47 PM   Lenard Palmer        Byron Snell    1:03 Cellular Connection
                                                                         Hey give me a call when u get a chance i have something to talk to u about that i think u might be
Palmer Phone   5/7/2016    2:50 PM   Lenard Palmer            NJ
                                                                         interested in
Palmer Phone   5/7/2016    2:50 PM   Lenard Palmer            NJ         The blue guys are gonna be back in town
Palmer Phone   5/7/2016    3:00 PM        NJ             Lenard Palmer   Can't talk. I'll call in 45 mins.
Palmer Phone   5/7/2016    3:02 PM   Lenard Palmer            NJ         Ok
Palmer Phone   5/7/2016    3:34 PM    Byron Snell        Lenard Palmer   :36 Cellular Connection
Palmer Phone   5/7/2016    3:55 PM        NJ             Lenard Palmer   1:49 Cellular Connection
Palmer Phone   5/7/2016    4:37 PM    Byron Snell        Lenard Palmer   :14 Cellular Connection
Palmer Phone   5/7/2016    4:52 PM   Lenard Palmer        Byron Snell    :06 Cellular Connection
Palmer Phone   5/7/2016    6:54 PM   Lenard Palmer            NJ         :03 Cellular Connection


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   Source        Date         Time        From                  To                                                        Message
Palmer Phone   5/7/2016      7:15 PM        NJ             Lenard Palmer    :47 Cellular Connection
Palmer Phone   5/8/2016      7:34 PM    Byron Snell        Lenard Palmer    1:13 Cellular Connection
Palmer Phone   5/8/2016      8:07 PM        NJ             Lenard Palmer    So did anythlng happen?
Palmer Phone   5/8/2016      8:08 PM   Lenard Palmer            NJ          Yea we will have it tomorrow
Palmer Phone   5/8/2016      8:32 PM        NJ             Lenard Palmer    Sorry, didn't hear the phone. Ok, we're thinking about tomorrow nite, so let me know.
Palmer Phone   5/8/2016      8:33 PM   Lenard Palmer            NJ          Ok will do
Palmer Phone   5/9/2016     12:56 PM        NJ             Lenard Palmer    Has anything happened yet
Palmer Phone   5/9/2016     12:58 PM   Lenard Palmer            NJ          I haven't talked to him yet. What time were u trying to come down?
Palmer Phone   5/9/2016     12:58 PM        NJ             Lenard Palmer    Anytime. He got done work early, so I was just wondering.
Palmer Phone   5/9/2016      1:04 PM   Lenard Palmer        Byron Snell     Yo b let me know when u get down the way
Palmer Phone   5/9/2016      1:06 PM   Lenard Palmer            NJ          Ok I will let u know the second I hear
Palmer Phone   5/9/2016      1:07 PM        NJ             Lenard Palmer    Ok
Palmer Phone   5/9/2016      1:40 PM    Byron Snell        Lenard Palmer    Ok
Palmer Phone   5/9/2016      4:46 PM        NJ             Lenard Palmer    Have u talked with him?
Palmer Phone   5/9/2018      4:58 PM   Lenard Palmer            NJ          Not yet
Palmer Phone   5/9/2016      7:47 PM    Byron Snell        Lenard Palmer    I'm down the way
Palmer Phone   5/9/2016      7:49 PM   Lenard Palmer        Byron Snell     Ard im bout to come down now
                                                                            Hey sorry to get back to you so late. But he said the guy had a emergency and had him waiting all day
Palmer Phone   5/10/2016    12:48 AM   Lenard Palmer             NJ
                                                                            so he's going to see what he says tomorrow
Palmer Phone   5/10/2016    9:28 AM     Byron Snell        Lenard Palmer    :14 Cellular Connection
Palmer Phone   5/10:/2016   10:02 AM   Lenard Palmer        Byron Snell     :07 Cellular Connection
Palmer Phone   5/11/2016     2:50 PM        NJ             Lenard Palmer    3:17 Cellular Connection
Palmer Phone   5/11/2016     6:23 PM   Lenard Palmer        Byron Snell     1:17 Cellular Connection
Palmer Phone   5/11/2016     6:28 PM   Lenard Palmer           Snow         :13 Cellular Connection
Palmer Phone   5/12/2016    6:16 AM         NJ             Lenard Palmer    :26 Cellular Connection
Palmer Phone   5/12/2016    6:41 AM    Lenard Palmer        Byron Snell     Yo what percentage u want on it?
Palmer Phone   5/12/2016    7:10 AM     Byron Snell        Lenard Palmer    15
Palmer Phone   5/12/2016    7:11 AM     Byron Snell        Lenard Palmer    :42 Cellular Connection
Palmer Phone   5/12/2016    12:44 PM   Lenard Palmer            NJ          Hey don't forget to let me know how that is
Palmer Phone   5/12/2016    12:47 PM        NJ             Lenard Palmer    I won't. I'll know better later
Palmer Phone   5/12/2016    12:47 PM   Lenard Palmer            NJ          Ok
                                                                            It seems to be good, but being the idiots that we are, we've been mixing it with something else. But
Palmer Phone   5/12/2016    4:45 PM         NJ             Lenard Palmer
                                                                            tomorow I won't do that, so I'll have a better idea of it on its own. I'll talk to u then.


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   Source         Date      Time         From                   To                                                          Message
Palmer Phone   5/12/2016   4:47 PM    Lenard Palmer             NJ         Ok
                                                                           I don't want to be a pain in the ass but, these are even smaller than the other ones. Actually, half the
Palmer Phone   5/19/2016   8:15 PM         NJ             Lenard Palmer    size! They're like nickels! Out of 14, maybe 2 are alright. It's rediculous! Please say something to
                                                                           somebody. They are not (at all) worth a price increase. If anything, it should be lowered!!
                                                                           I have a good example, the other day, they were small. And we told u that. But it is good, so we're
Palmer Phone   5/19/2016   8:20 PM         NJ             Lenard Palmer    letting it slide. Well today, I need 3 just to make a normal size. That's crazy. Half the amount for more
                                                                           money
                                                                           I told my uncle already he said somebody else said something about it too. When i get with him later
Palmer Phone   5/19/2016   8:22 PM    Lenard Palmer             NJ
                                                                           I'm gonna let u talk to him
Palmer Phone   5/20/2016   8:45 PM         NJ             Lenard Palmer    Some of these aren't even nickels-if it was on the street, it would be $2
Palmer Phone   5/20/2016   9:37 PM    Lenard Palmer            NJ          He said he told them and thats all he can do he already has too much money invested in it
Palmer Phone   5/20/2016   9:42 PM    Lenard Palmer            NJ          He said he gotta wait until he get the next batch
                                                                           This is why I'm not coming down. The one on the left is from last Sunday,(which isn't good to begin
                                                                           with) + the one on the right is from Thursday. And they were all like that! Didn't u understand what I
                                                                           said the othr nite? We can't afford to keep handing money out for nothing!! These aren't even worth
                                                                           $5!! [Attachment Image0299.jpg]

Palmer Phone   5/23/2016   12:21 AM        NJ             Lenard Palmer




                                                                           And what i explained to u was our hands were tied until it was gone. Anytime something was wrong
Palmer Phone   5/23/2016   3:28 AM    Lenard Palmer             NJ
                                                                           we tried to make it right u make it seem as if we are the ones making them. But ok its fine
                                                                           Ok i came up with a solution until the end of this package if u guys think its good enough to pay 75 i
Palmer Phone   5/23/2016   8:38 PM    Lenard Palmer             NJ         will take the loss just to get rid of this so we can hurry and get something else. I don't want to lose you
                                                                           guys business
Palmer Phone   5/23/2016   8:39 PM    Lenard Palmer             NJ         But that’s the most I can do
                                                                           Ok, that's all we're asking for, a little bit of help here. I don't want to go any where else, but some of
Palmer Phone   5/23/2016   9:30 PM         NJ             Lenard Palmer    these are rediculous. He just left for work, + I don't know when he'll be back. (anytime between 5 + 8
                                                                           am) I will get back to u in the morning, when I can talk to him.
Palmer Phone   5/24/2016   8:40 PM         Jay            Lenard Palmer    Im good bro i been chillin.



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   Source         Date       Time         From                 To                                                            Message
Palmer Phone   5/24/2016    8:42 PM   Lenard Palmer            Jay         I got some of them things if u ever need some they saying its good
Palmer Phone    6/1/2016    5:01 PM   Lenard Palmer        Byron Snell     1:30 Cellular Connection
Palmer Phone    6/1/2016    7:50 PM   Lenard Palmer         Eric Snell     25:18 Cellular Connection
Palmer Phone    6/3/2016    3:54 PM    Byron Snell        Lenard Palmer    1:29 Cellular Connection
Palmer Phone    6/3/2016    4:11 PM     Eric Snell        Lenard Palmer    7:58 Cellular Connection
Palmer Phone    6/3/2016    6:01 PM   Lenard Palmer        Byron Snell     :26 Cellular Connection
Palmer Phone    6/5/2016   11:30 AM        NJ             Lenard Palmer    Hey, r u gonna be around in a couple hours?
Palmer Phone    6/5/2016   11:33 AM   Lenard Palmer            NJ          Yes what time
Palmer Phone    6/5/2016   11:35 AM        NJ             Lenard Palmer    Around 1:30-2
Palmer Phone    6/5/2016   11:36 AM   Lenard Palmer            NJ          Yup 29th st
Palmer Phone    6/5/2016   11:38 AM        NJ             Lenard Palmer    Near the zoo?
Palmer Phone    6/5/2016   11:39 AM   Lenard Palmer            NJ          Yeah. And this is something different so the number is back up
Palmer Phone    6/5/2016   11:41 AM        NJ             Lenard Palmer    Is it any good?
Palmer Phone    6/5/2016   11:47 AM   Lenard Palmer            NJ          Yes. they are saying its good and good size
Palmer Phone    6/5/2016    1:46 PM        NJ             Lenard Palmer    Should be there in 20
Palmer Phone    6/5/2016    1:47 PM   Lenard Palmer            NJ          Ok. How many?
Palmer Phone    6/5/2016    1:48 PM        NJ             Lenard Palmer    2. I'll call when close
Palmer Phone    6/5/2016    2:16 PM        NJ             Lenard Palmer    Sitting on ramp in front of zoo. Be 5 mins.
Palmer Phone    6/5/2016    2:16 PM   Lenard Palmer            NJ          Ok
Palmer Phone    6/5/2016    2:18 PM        NJ             Lenard Palmer    Here
Palmer Phone    6/5/2016    2:25 PM        NJ             Lenard Palmer    We're in supermarket.
Palmer Phone    6/5/2016    2:26 PM   Lenard Palmer            NJ          I said 29th. Ok
Palmer Phone    6/5/2016    2:27 PM        NJ             Lenard Palmer    No parking up there.
                                                                           I'm sorry so late. We both like it. I want to check it out by itslf tomorow , so I'll call u around noon.
Palmer Phone   6/5/2016    5:22 PM         NJ             Lenard Palmer
                                                                           But so far, so good!! Don't let anybody touch it!
Palmer Phone   6/5/2016    5:23 PM    Lenard Palmer            NJ          Good. Ok
Palmer Phone   6/8/2016    5:53 PM    Lenard Palmer            NJ          Hey are u guys coming down tomorrow? Just so i know if i need to go get something tonight
Palmer Phone   6/8/2016    6:17 PM         NJ             Lenard Palmer    Yea, we'll be down early, about 6:30-7 a.m.
Palmer Phone   6/8/2016    6:25 PM    Lenard Palmer            NJ          Ok. How many?
Palmer Phone   6/8/2016    6:43 PM         NJ             Lenard Palmer    Oh yeah, definately 2, maybe 3. I won't know for sure until the morning
Palmer Phone   6/8/2016    8:29 PM    Lenard Palmer        Byron Snell     :22 Cellular Connection
Palmer Phone   6/9/2016    7:15 AM    Lenard Palmer            NJ          :51 Cellular Connection
Palmer Phone   6/9/2016    7:22 AM         NJ             Lenard Palmer    :37 Cellular Connection

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   Source         Date       Time        From              To                                                       Message
Palmer Phone    6/9/2016   7:26 AM        NJ          Lenard Palmer    :26 Cellular Connection
Palmer Phone    6/9/2016   7:57 PM   Lenard Palmer      Eric Snell     Yo im thinking about getting a hk45 what you think the price gonna be with your discount?
Palmer Phone    6/9/2016   9:26 PM     Eric Snell     Lenard Palmer    I don't know. We gotta go up there and see
Palmer Phone   6/29/2016   5:03 PM      Sylvia        Lenard Palmer    My uncle got 25 blue 30s
Palmer Phone   6/29/2016   5:03 PM      Sylvia        Lenard Palmer    He wanna know what they go 4
Palmer Phone   6/29/2016   5:04 PM   Lenard Palmer       Sylvia        He can sell them for like 20
Palmer Phone   6/29/2016   5:04 PM      Sylvia        Lenard Palmer    A piece?
Palmer Phone   6/29/2016   5:04 PM   Lenard Palmer       Sylvia        Yea
                                                                       [Attachment FullSizeRender.JPG]




Palmer Phone   8/24/2016   8:22 PM      Sylvia        Lenard Palmer




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  Source         Date        Time          From                To                                                  Message




                           10:09 PM -
Palmer Phone   8/24/2016
                            10:11 PM




                                                                          18 of em [attachment: IMG_0138]



Palmer Phone   8/25/2016   11:01 PM     409-330-6842     Lenard Palmer




Palmer Phone   8/25/2016   11:59 PM     Lenard Palmer    409-330-6842     What u want for em?
Palmer Phone   8/26/2016   12:00 AM     409-330-6842     Lenard Palmer    It's only 17 now lol but 10
Palmer Phone   8/26/2016   12:04 AM     Lenard Palmer    409-330-6842     Oh ard i thought they was wholesale
Palmer Phone   8/26/2016   12:04 AM     409-330-6842     Lenard Palmer    Oh nah I get like 120 every 2 weeks




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   Source          Date        Time          From                To                                                  Message




                             12:28 PM -
Palmer Phone     8/26/2016
                              12:29 PM




                                                                            https://m.youtube.com/watch?v=FbeZHXzoGTA "Money off Cocaine"




Snell iPhone X   9/29/2016    4:05 PM     Lenard Palmer      Eric Snell




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    Source          Date       Time         From                 To                                                  Message
                                         Jemell Rayam
Rayam BPD Phone   10/3/2016   9:15 PM                     Momodu Gondo 2 Minute Cellular Connection
                                             BPD
                                         Jemell Rayam
Rayam BPD Phone   10/3/2016   9:21 PM                     Momodu Gondo 1 Minute Cellular Connection
                                             BPD
                                                           Jemell Rayam
Rayam BPD Phone   10/3/2016   9:57 PM    Momodu Gondo                       3 Minute Cellular Connection
                                                               BPD
                                                           Jemell Rayam
Rayam BPD Phone   10/3/2016   10:16 PM   Momodu Gondo                       1 Minute Cellular Connection
                                                               BPD
                                                           Jemell Rayam
Rayam BPD Phone   10/4/2016   9:18 AM    Wayne Jenkins                      2 Minute Cellular Connection
                                                               BPD
                                         Jemell Rayam
Rayam BPD Phone   10/4/2016   9:34 AM                        Eric Snell     1 Minute Cellular Connection
                                             BPD
                                                           Jemell Rayam
 Snell iPhone X   10/4/2016   9:51 AM      Eric Snell                       Yo its 90? O
                                                               BPD
                                         Jemell Rayam
Rayam BPD Phone   10/4/2016   12:08 PM                     Wayne Jenkins    1 Minute Cellular Connection
                                             BPD
                                         Jemell Rayam
 Snell iPhone X   10/4/2016   7:32 PM                        Eric Snell     Anyword?
                                             BPD
                                                           Jemell Rayam
Rayam BPD Phone   10/4/2016   7:34 PM      Eric Snell                       3 Minute Cellular Connection
                                                               BPD
                                         Jemell Rayam
Rayam BPD Phone   10/4/2016   9:08 PM                        Eric Snell     1 Minute Cellular Connection
                                             BPD
                                         Jemell Rayam
Rayam BPD Phone   10/4/2016   9:08 PM                        Eric Snell     1 Minute Cellular Connection
                                             BPD
                                         Jemell Rayam
Rayam BPD Phone   10/4/2016   9:57 PM                        Eric Snell     1 Minute Cellular Connection
                                             BPD
                                         Jemell Rayam
Rayam BPD Phone   10/4/2016   10:09 PM                       Eric Snell     1 Minute Cellular Connection
                                             BPD
                                         Jemell Rayam
 Snell iPhone X   10/5/2016   8:19 AM                        Eric Snell     Yo my bad I forgot to call
                                             BPD
                                         Jemell Rayam
 Snell iPhone X   10/5/2016   8:19 AM                        Eric Snell     But ur phone going to VM
                                             BPD
                                                           Jemell Rayam
 Snell iPhone X   10/5/2016   3:45 PM      Eric Snell                       Call me back
                                                               BPD


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    Source          Date        Time         From                 To                                                      Message
                                          Jemell Rayam
Rayam BPD Phone   10/5/2016    3:56 PM                        Eric Snell     2 Minute Cellular Connection
                                              BPD
                                                            Jemell Rayam
Rayam BPD Phone   10/5/2016    4:15 PM      Eric Snell                       2 Minute Cellular Connection
                                                                BPD
                                                            Jemell Rayam
Rayam BPD Phone   10/5/2016    4:17 PM      Eric Snell                       3 Minute Cellular Connection
                                                                BPD
                                                            Jemell Rayam
Rayam BPD Phone   10/5/2016    4:21 PM      Eric Snell                       1 Minute Cellular Connection
                                                                BPD
                                          Jemell Rayam
Rayam BPD Phone   10/5/2016    8:59 PM                       David Hanni     1 Minute Cellular Connection
                                              BPD
                                                            Jemell Rayam
Rayam BPD Phone   10/5/2016    9:05 PM     David Hanni                       2 Minute Cellular Connection
                                                                 BPD
 Rayam iPhone      10/8/2016   2:30 PM    Jemell Rayam        Kyle Harris    U got something
 Rayam iPhone      10/8/2016   2:36 PM     Kyle Harris      Jemell Rayam     Not yet. Waitn for dude to get back
 Rayam iPhone      10/8/2016   2:37 PM    Jemell Rayam        Kyle Harris    Ok cool
 Rayam iPhone     10/11/2016   5:58 PM    Jemell Rayam        Kyle Harris    Anything new cuz
                                                                             Just got a good look. May be bug enough to make
 Rayam iPhone     10/11/2016   6:07 PM     Kyle Harris      Jemell Rayam
                                                                             you good
 Rayam iPhone     10/11/2016   7:27 PM    Jemell Rayam        Kyle Harris    That's wts up cuz..
                                                                             Should I come home and visit tomorrow or wait a
 Rayam iPhone     10/12/2016   8:39 PM    Jemell Rayam       David Hanni
                                                                             few days
 Rayam iPhone     10/12/2016   8:40 PM     David Hanni      Jemell Rayam     About to see if I'm free tomor
 Rayam iPhone     10/12/2016   8:41 PM    Jemell Rayam       David Hanni     Ok cool
                                                                             Yo cuz i know u would of hit me up if anything.
 Rayam iPhone     10/15/2016   11:24 AM   Jemell Rayam        Kyle Harris
                                                                             But anything new
 Rayam iPhone     10/15/2016   11:25 AM    Kyle Harris      Jemell Rayam     Headed there to ask find out as we speak
 Rayam iPhone     10/15/2016   11:26 AM   Jemell Rayam       Kyle Harris     That's wts up. This been a journey. Lol
 Rayam iPhone     10/15/2016   11:31 AM    Kyle Harris      Jemell Rayam     this has been ass lol
                                                                             U telling me. Lol. Make a nigga want to re think
 Rayam iPhone     10/15/2016   11:36 AM   Jemell Rayam        Kyle Harris
                                                                             getting a quick come up.
 Rayam iPhone     10/15/2016   11:37 AM    Kyle Harris      Jemell Rayam     Word. I made 300 dollars so far bro
 Rayam iPhone     10/15/2016   11:48 AM   Jemell Rayam       David Hanni     182 Second Cellular Connection




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   Source          Date        Time         From                To                                                          Message
                                                                           Word, I'm gonna get back to you in about a hour
Rayam iPhone     10/15/2016   11:57 AM    Kyle Harris     Jemell Rayam
                                                                           and a half. Let me see what's going on
Rayam iPhone     10/15/2016   12:01 PM   Jemell Rayam       Kyle Harris    Cool
Rayam iPhone     10/15/2016    7:19 PM   Jemell Rayam       Kyle Harris    No news cuz
                                                                           All fucking day running around hunting niggas
Rayam iPhone     10/15/2016   7:21 PM     Kyle Harris     Jemell Rayam
                                                                           down bro.
Rayam iPhone     10/15/2016   7:21 PM    Jemell Rayam       Kyle Harris    Dam. Didn't know it was on that level
                                                                           We got a bunch of flyers out. Hunting these fucks
Rayam iPhone     10/15/2016   7:22 PM     Kyle Harris     Jemell Rayam
                                                                           down for the ticket money
Rayam iPhone     10/15/2016   7:22 PM    Jemell Rayam       Kyle Harris    I feel u
                                                                           I'm not done. When it comes back, it should be a
Rayam iPhone     10/15/2016   7:23 PM     Kyle Harris     Jemell Rayam
                                                                           good pop
Rayam iPhone     10/15/2016    7:26 PM    Kyle Harris     Jemell Rayam     I know it's taking a dumb amount of time but as soooooon as I get anything, it's on it's way
Rayam iPhone     10/15/2016    7:43 PM   Jemell Rayam      Kyle Harris     Cool
Rayam iPhone     10/15/2016    7:26 PM     Eric Snell     Jemell Rayam     100 Second Cellular Connection
Rayam iPhone     10/17/2016   12:36 PM   Jemell Rayam      David Hanni     Yo any gd news
Rayam iPhone     10/17/2016   12:38 PM    David Hanni     Jemell Rayam     I lost 10 lbs
Rayam iPhone     10/17/2016   12:38 PM    David Hanni     Jemell Rayam     Getting in shape to play over seas
Rayam iPhone     10/17/2016   12:42 PM   Jemell Rayam      David Hanni     I guess that's gd news?
Rayam iPhone     10/17/2016   12:43 PM   Jemell Rayam      David Hanni     D jets come on tonight .
Rayam iPhone     10/17/2016   12:43 PM   Jemell Rayam      David Hanni     Should we watch d game together
Rayam iPhone     10/17/2016    7:56 PM   Jemell Rayam      David Hanni     Yo just getting off work. Didn't understand ur work out plan for fat people. Lmao.. Are u gd
Rayam iPhone     10/17/2016    7:57 PM    David Hanni     Jemell Rayam     Lol!! I thought I texted u back. I'll see you we'd thursday latest
Rayam iPhone     10/17/2016    7:57 PM    David Hanni     Jemell Rayam     Go jets
                                                                           Geese , Pizza man, stop eating. Lol.. U keep pushing our date back. My peoples down here getting
Rayam iPhone     10/17/2016   8:06 PM    Jemell Rayam      David Hanni
                                                                           hungry
Rayam iPhone     10/17/2016   8:08 PM    Jemell Rayam      David Hanni     Lol I'll talk to u tomor sorry. Trying my best not to eat
Rayam iPhone     10/17/2016   8:08 PM    Jemell Rayam      David Hanni     It's cool. I jus keep messaging what I hear . So I jus look bad. U need to go on a diet.
Rayam iPhone     10/17/2016   8:08 PM    Jemell Rayam      David Hanni     Hit u on Wednesday
Snell iPhone X   10/18/2016   3:53 PM      Eric Snell     Jemell Rayam     Yo call me
Rayam iPhone     10/18/2016   5:08 PM    Jemell Rayam       Eric Snell     35 Second Cellular Connection
Rayam iPhone     10/18/2016   5:08 PM      Eric Snell     Jemell Rayam     141 Second Cellular Connection
Rayam iPhone     10/19/2016   2:40 PM    Jemell Rayam      David Hanni     I'm still going to the jets game. How many tickets did you have left


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   Source           Date       Time          From              To                                                              Message
Rayam iPhone     10/19/2016   2:44 PM     David Hanni     Jemell Rayam     I'll call u in abit the guy at lunch said he still might be around for drinks tonite but he not sure
Rayam iPhone     10/19/2016   2:44 PM    Jemell Rayam      David Hanni     Ok
Rayam iPhone     10/19/2016   2:45 PM     David Hanni     Jemell Rayam     I'll call u in abit I'm making plans
Rayam iPhone     10/19/2016   2:45 PM    Jemell Rayam      David Hanni     Ok
Rayam iPhone     10/19/2016   8:53 PM     David Hanni     Jemell Rayam     Wait til tomor I'm getting ride of 2 ticket asap in am
Rayam iPhone     10/19/2016   8:53 PM     David Hanni     Jemell Rayam     Have 8 left
Rayam iPhone     10/19/2016   8:54 PM     David Hanni     Jemell Rayam     I can meet u in philly if u want
Rayam iPhone     10/19/2016   8:55 PM    Jemell Rayam      David Hanni     8 tickets for d game cool.
  Snell Toll     10/19/2016   8:55 PM      Eric Snell      Byron Snell     1 Minute 20 Second Cellular Connection
Rayam iPhone     10/19/2016   8:57 PM     David Hanni     Jemell Rayam     Yes I'm working on more
Rayam iPhone     10/19/2016   9:06 PM    Jemell Rayam      David Hanni     Don't stress urself over it. Philly would be great. Appreciate what you did so far.
Rayam iPhone     10/19/2016   9:07 PM    Jemell Rayam      David Hanni     I jus have my Serg hounding me for tickets cause I gave him an earlier date.
Rayam iPhone     10/19/2016   9:08 PM     David Hanni     Jemell Rayam     K
Rayam iPhone     10/19/2016   9:18 PM     Kyle Harris     Jemell Rayam     Nah man. I'm at work until 5am then I'm back at it tomorrow. E eryone talking good but poor
Rayam iPhone     10/19/2016   9:19 PM    Jemell Rayam      Kyle Harris     Dam. So dude don't have nothing?
Rayam iPhone     10/19/2016   9:21 PM    Jemell Rayam      Kyle Harris     I know/trust u doing everything. But this situation has me in a bind down here. It's not looking gd.
Rayam iPhone     10/19/2016   9:22 PM     Kyle Harris     Jemell Rayam     What I got back so far isn't worth the drive bro. Was putting it to the side until it's enough to give to u.
Rayam iPhone     10/19/2016    9:22 PM   Jemell Rayam     Kyle Harris      If dude has any flyers left. Please jus let me come get them.
Rayam iPhone     10/19/2016    9:57 PM   Jemell Rayam      Eric Snell      262 Second Cellular Connection
Rayam iPhone     10/19/2016   10:12 PM   Jemell Rayam    Momodu Gondo      36 Second Cellular Connection
Rayam iPhone     10/20/2016   12:51 PM    David Hanni    Jemell Rayam      I'm about 1:15 from A-town. R u meeting me
Rayam iPhone     10/20/2016    2:20 PM    David Hanni    Jemell Rayam      How far??
Rayam iPhone     10/20/2016    2:20 PM   Jemell Rayam     David Hanni      On Hamilton
Rayam iPhone     10/20/2016    2:21 PM   Jemell Rayam     David Hanni      3900 Hamilton
Snell iPhone X   10/20/2016    3:09 PM   Jemell Rayam      Eric Snell      Yo
Snell iPhone X   10/20/2016    3:11 PM     Eric Snell    Jemell Rayam      Yo
  Snell Toll     10/20/2016    3:15 PM   Lenard Palmer     Eric Snell      59 Second Cellular Connection
  Snell Toll     10/20/2016    3:17 PM   Jemell Rayam      Eric Snell      1 Minute 36 Second Cellular Connection
Snell iPhone X   10/20/2016    3:40 PM   Lenard Palmer     Eric Snell      Call me
  Snell Toll     10/20/2016    3:45 PM     Eric Snell    Lenard Palmer     59 Second Cellular Connection
  Snell Toll     10/20/2016    3:47 PM     Eric Snell    Lenard Palmer     2 Minute 5 Second Cellular Connection
  Snell Toll     10/20/2016    3:49 PM     Eric Snell    Lenard Palmer     27 Second Cellular Connection

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   Source           Date       Time           From               To                                                         Message
  Snell Toll     10/20/2016   3:52 PM    Lenard Palmer       Eric Snell     1 Minute 29 Second Cellular Connection
  Snell Toll     10/20/2016   4:05 PM    Lenard Palmer       Eric Snell     :30 Cellular Connection
Snell iPhone X   10/20/2016   4:07 PM    Jemell Rayam        Eric Snell     Wts ur address
Snell iPhone X   10/20/2016   4:12 PM      Eric Snell      Jemell Rayam     2815 ryerson place
  Snell Toll     10/20/2016   4:17 PM      Eric Snell      Lenard Palmer    18 Second Cellular Connection
Snell iPhone X   10/20/2016   4:44 PM   Chattarika Dubois    Eric Snell     Hey babe, still in this work session
Snell iPhone X   10/20/2016   4:44 PM   Chattarika Dubois    Eric Snell     Everything ok?
  Snell Toll     10/20/2016   4:44 PM      Eric Snell      Lenard Palmer    11 Second Cellular Connection
Snell iPhone X   10/20/2016   4:45 PM      Eric Snell     Chattarika Dubois Yeah. When is it over
Snell iPhone X   10/20/2016   4:45 PM   Chattarika Dubois    Eric Snell     5 why?
                                                                            Everyone going to nearby spot afterwards, I was gonna stop in for a quick drink and leave by 6. It's
Snell iPhone X   10/20/2016   4:46 PM   Chattarika Dubois    Eric Snell
                                                                            the work thing I told you about.
Snell iPhone X   10/20/2016   4:46 PM      Eric Snell     Chattarika Dubois Naw can't. I had something come up.
Snell iPhone X   10/20/2016   4:47 PM   Chattarika Dubois    Eric Snell     Why aren't you trying to explain yourself?
Snell iPhone X   10/20/2016   4:47 PM   Chattarika Dubois    Eric Snell     That line don't fly by itself.
Snell iPhone X   10/20/2016   4:47 PM      Eric Snell     Chattarika Dubois Jamell here. I have to help him with something
Snell iPhone X   10/20/2016   4:48 PM   Chattarika Dubois    Eric Snell     Ok
Snell iPhone X   10/20/2016   5:13 PM    Lenard Palmer       Eric Snell     Yo i ain't got a wheel right now. But im waiting for these dudes to hit me back
Snell iPhone X   10/20/2016   5:13 PM      Eric Snell      Lenard Palmer Ok.
Snell iPhone X   10/20/2016   5:13 PM      Eric Snell      Lenard Palmer That's cool.
  Snell Toll     10/20/2016   7:07 PM      Eric Snell      Lenard Palmer 1 Minute 34 Second Cellular Connection
  Snell Toll     10/20/2016   7:28 PM      Eric Snell      Lenard Palmer 6 Second Cellular Connection
Rayam iPhone     10/20/2016   8:44 PM    Jemell Rayam        Eric Snell     34 Second Cellular Connection
Rayam iPhone     10/21/2016   1:15 PM      Eric Snell      Jemell Rayam 404 Second Cellular Connection
Rayam iPhone     10/21/2016   3:25 PM      Eric Snell      Jemell Rayam 184 Second Cellular Connection
Rayam iPhone     10/23/2016   4:00 PM    Jemell Rayam        Eric Snell     Yo
Rayam iPhone     10/23/2016   6:05 PM    Jemell Rayam        Eric Snell     Yo we still gd for tomorrow
  Snell Toll     10/23/2016   7:30 PM      Eric Snell      Lenard Palmer 57 Second Cellular Connection
Rayam iPhone     10/23/2016   8:19 PM    Jemell Rayam        Eric Snell     68 Second Cellular Connection
Rayam iPhone     10/23/2016   8:34 PM    Jemell Rayam        Eric Snell     121 Second Cellular Connection
Rayam iPhone     10/24/2016   6:28 AM    Jemell Rayam        Eric Snell     Yo I'll b to u around 1
Rayam iPhone     10/24/2016   8:41 AM      Eric Snell      Jemell Rayam Ok cool



                                                                                                                                                                                   20 of 29
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   Source           Date        Time         From               To                                                         Message
Snell iPhone X   10/24/2016   12:26 PM   Jemell Rayam        Eric Snell     Omw
Rayam iPhone     10/24/2016    1:30 PM     Eric Snell      Jemell Rayam     98 Second Cellular Connection
  Snell Toll     10/24/2016    2:02 PM   Lenard Palmer       Eric Snell     54 Second Cellular Connection
Snell iPhone X   10/24/2016    6:17 PM   Lenard Palmer       Eric Snell     87
Snell iPhone X   10/24/2016    7:21 PM     Eric Snell      Lenard Palmer    Ok
Rayam iPhone     10/26/2016    7:28 PM   Jemell Rayam        Eric Snell     Yo u ever Holla at girl from club
Rayam iPhone     10/26/2016    7:28 PM   Jemell Rayam        Eric Snell     U off tomorrow
                                                                            No I didn't I'm going to txt her now. Yea I'm off. I actually was going to see if you wanted to come
Rayam iPhone     10/26/2016   7:30 PM      Eric Snell      Jemell Rayam
                                                                            down.
Rayam iPhone     10/26/2016    7:30 PM   Jemell Rayam        Eric Snell     What was her stage name again?
Rayam iPhone     10/26/2016    7:40 PM     Eric Snell      Jemell Rayam     Ashley
Rayam iPhone     10/26/2016    8:40 PM     Eric Snell      Jemell Rayam     158 Second Cellular Connection
Rayam iPhone     10/27/2016   12:57 PM     Eric Snell      Jemell Rayam     2k
Rayam iPhone     10/27/2016    1:14 PM   Jemell Rayam        Eric Snell     Yeah nba 2k is tuff
Rayam iPhone     10/27/2016    5:47 PM   Jemell Rayam        Eric Snell     Yo I may fall back tonight. I'm a little tired
Rayam iPhone     10/27/2016    5:52 PM     Eric Snell      Jemell Rayam     Ard homie. That's cool. I got you tomorrow then.
Rayam iPhone     10/27/2016    6:00 PM   Jemell Rayam        Eric Snell     Cool. Gd look
                                                                            IMG_1793




Snell iPhone X   10/27/2016   7:55 PM    267-312-9798        Eric Snell




Snell iPhone X   10/27/2016   10:03 PM     Eric Snell      267-228-5466     Well I'm off tonight. I'm on my way to a get together my friend is having in west philly


                                                                                                                                                                                   21 of 29
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   Source           Date         Time       From                To                                                           Message
Snell iPhone X   10/28/2016   12:18 AM    Eric Snell                       Contact saved (later deleted) - Ashelley
Snell iPhone X   10/28/2016    1:17 AM   267-779-1713      Eric Snell      Hey daddy London. Is this eric😘😘😘😘😘😘😘😘
Snell iPhone X   10/28/2016    1:33 AM    Eric Snell      267-779-1713     Got you
Snell iPhone X   10/28/2016    1:33 AM    Eric Snell      267-779-1713     I'm outside
Snell iPhone X   10/28/2016    1:53 AM   267-779-1713      Eric Snell      Counting money
Snell iPhone X   10/28/2016    1:53 AM    Eric Snell      267-779-1713     Ok cool I'll wait
Snell iPhone X   10/28/2016    1:53 AM    Eric Snell      267-779-1713     Coming out back or front?
Snell iPhone X   10/28/2016    1:54 AM   267-779-1713      Eric Snell      Back
Snell iPhone X   10/28/2016    1:54 AM    Eric Snell      267-779-1713     Ok
Snell iPhone X   10/28/2016    1:54 AM   267-779-1713      Eric Snell      I'm right here
Snell iPhone X   10/28/2016    8:27 AM   267-304-9758      Eric Snell      My back still fucked up.. imma send Maya later to come get the money I still can't move right now
Snell iPhone X   10/28/2016    8:29 AM    Eric Snell      267-304-9758     Ok np
Snell iPhone X   10/28/2016    8:52 AM   267-304-9758      Eric Snell      She's on her way now
                                                                           [Attachment 5003.JPG]


Rayam iPhone     10/28/2016   11:47 AM   Jemell Rayam       Eric Snell



                                                                           Yo let me know if u can get to d bank. Even if that's all u have . I'll jus give it to the other dude in with
Rayam iPhone     10/28/2016   11:48 AM   Jemell Rayam       Eric Snell
                                                                           me
Rayam iPhone     10/28/2016   11:57 AM   Jemell Rayam       Eric Snell     And did u go to that spot. Lol
Rayam iPhone     10/28/2016   12:17 PM     Eric Snell     Jemell Rayam     Ok I got you. Hungover lol. I gave her ya number
Rayam iPhone     10/31/2016   11:50 AM   Jemell Rayam       Eric Snell     Yo hit me back
Rayam iPhone     10/31/2016    9:39 PM   Jemell Rayam       Eric Snell     Yo
Rayam iPhone     10/31/2016    9:40 PM     Eric Snell     Jemell Rayam     Yo what's good homie
Rayam iPhone      11/1/2016    2:36 PM   Jemell Rayam       Eric Snell     Yo
Rayam iPhone      11/1/2016    2:36 PM   Jemell Rayam       Eric Snell     U got anything for today
Rayam iPhone      11/1/2016    2:36 PM     Eric Snell     Jemell Rayam     Give me a sec
Rayam iPhone      11/1/2016    2:36 PM     Eric Snell     Jemell Rayam     Let me check
 Palmer Toll      11/1/2016    2:42 PM     Eric Snell     Lenard Palmer    27 Second Cellular Connection
Rayam iPhone      11/3/2016   11:16 AM   Jemell Rayam       Eric Snell     Anything gd for today


                                                                                                                                                                                       22 of 29
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   Source        Date        Time        From               To                                                          Message
 Palmer Toll   11/3/2016    3:03 PM    Eric Snell      Lenard Palmer    14 Second Cellular Connection
Rayam iPhone   11/3/2016   11:27 PM   Wayne Jenkins    Jemell Rayam     Horrible
                                                                        I'm sorry Esh he didn't . He said he only got 1500 and tomorrow he said he'll have d rest. I was like yo
                                                                        you could of jus put that in. His people's playing games. I think I'm to "soft" for this or my position
                                                                        doesn't allow me to react the way I want or both. Either way the tab is 10300 and some of that is what
Rayam iPhone   11/4/2016   5:59 PM    Jemell Rayam      Ayesha Hood
                                                                        I took out to settle with white boy . I thought about jus giving u what I got paid but then if I don't get
                                                                        this from Snell I'll b depleted. If u need something now I can give u something towards it but I can't
                                                                        do a stack right this minute
Rayam iPhone   11/4/2016   6:15 PM    Jemell Rayam      Ayesha Hood     And I know I keep pushing it back but I trust Snell and even if I only get 1500 that's something
Rayam iPhone   11/4/2016   11:29 PM   Wayne Jenkins    Jemell Rayam     You told me three days in a row you would call me to meet.
                                                                        So my man Snell fuck d jiffy up by keeping his part b4 I got my jiffy so I'm left waiting. Smh..
Rayam iPhone   11/5/2016   1:50 AM    Jemell Rayam      Ayesha Hood
                                                                        Sh#%t.... I felt that .. N:g:a$$.. Wtf
Rayam iPhone   11/5/2016    1:51 AM   Jemell Rayam      Ayesha Hood     Thinking everything was rolling in . But I should b d one getting looked out first
Rayam iPhone   11/5/2016    1:52 AM   Jemell Rayam      Ayesha Hood     I understand y this NBA game don't have any friends.
Rayam iPhone   11/5/2016    2:02 AM   Jemell Rayam      Ayesha Hood     I shouldn't b waisting my valuable time (real talk) chasing
Rayam iPhone   11/5/2016    2:02 AM    Ayesha Hood     Jemell Rayam     Okay well u have to collect more up front
Rayam iPhone   11/5/2016    2:03 AM   Jemell Rayam      Ayesha Hood     Rite... More up front
Rayam iPhone   11/5/2016    2:09 AM   Jemell Rayam      Ayesha Hood     Furious 👿👿👿👿.. Once I cross that line. Know turning back
Rayam iPhone   11/5/2016    2:09 AM    Ayesha Hood     Jemell Rayam     I'm sure u r. Does he know how u feel?
Rayam iPhone   11/5/2016    2:10 AM   Jemell Rayam      Ayesha Hood     Ur rite. Jus thought when u go thru with some1 with something else they would come thru
Rayam iPhone   11/5/2016    2:11 AM   Jemell Rayam      Ayesha Hood     I was cool when it's just me..
Rayam iPhone   11/5/2016    2:13 AM   Jemell Rayam      Ayesha Hood     But I have people "👆👆🏽🏽" counting on me…
Rayam iPhone   11/5/2016    2:14 AM   Jemell Rayam      Ayesha Hood     I jus learned now when someone give me a date i live by that.
Rayam iPhone   11/5/2016    2:18 AM    Ayesha Hood     Jemell Rayam     So he just openly said hey i took mine and you have to wait?
Rayam iPhone   11/5/2016    2:20 AM   Jemell Rayam      Ayesha Hood     Rite. He said ....he fucked up the $
Rayam iPhone   11/5/2016    3:37 PM   Wayne Jenkins    Jemell Rayam     Going to Florida tomorrow please get with me
Rayam iPhone   11/5/2016    9:24 PM   Wayne Jenkins    Jemell Rayam     Wow
Rayam iPhone   11/6/2016   10:17 AM   Wayne Jenkins    Jemell Rayam     Ram call me
Rayam iPhone   11/6/2016    5:37 PM   Jemell Rayam      Ayesha Hood     I'm getting on d way now. I was waiting on Snell but there's no reason. He hasn't text me
Rayam iPhone   11/6/2016    5:56 PM   Jemell Rayam      Ayesha Hood     He said he was going to call
Rayam iPhone   11/6/2016    6:02 PM   Jemell Rayam       Eric Snell     Yo. How we looking for tomorrow. My Serg calling me like crazy. It's getting annoying
Rayam iPhone   11/6/2016    6:04 PM    Ayesha Hood     Jemell Rayam     So how do u handle this


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   Source        Date       Time          From               To                                                         Message
Rayam iPhone   11/6/2016   6:20 PM    Jemell Rayam       Ayesha Hood     Idk. Do it differently next time
Rayam iPhone   11/6/2016   7:22PM      Ayesha Hood      Jemell Rayam     So he gets a pass?
Rayam iPhone   11/6/2016   7:23 PM    Jemell Rayam       Ayesha Hood     Hell no. I'm going to get it. Jus next time $ upfront
Rayam iPhone   11/6/2016   7:24 PM     Ayesha Hood      Jemell Rayam     So ur in Philly
                                                                         No .. I have Elle with me. Wouldn't bring her around for that. The other day I went there I dropped her
Rayam iPhone   11/6/2016   7:33 PM    Jemell Rayam       Ayesha Hood
                                                                         off first. Philly not 45 no from my parents
Rayam iPhone   11/6/2016   10:16 PM     Eric Snell      Jemell Rayam     Before I go to work I'm going to stop by there
Rayam iPhone   11/6/2016   10:16 PM     Eric Snell      Jemell Rayam     I'll let you know like 11. I'm gong to hit you
Rayam iPhone   11/6/2016   11:07 PM   Jemell Rayam        Eric Snell     11am
Rayam iPhone   11/6/2016   11:07 PM   Jemell Rayam        Eric Snell     ?
Rayam iPhone   11/6/2016   11:38 PM     Eric Snell      Jemell Rayam     Huh?
                                                                         U said you'll let me know around 11 b4 u go to work. I was thinking u work nights so I was seeing if u
Rayam iPhone   11/7/2016   12:15 AM   Jemell Rayam        Eric Snell
                                                                         meant 11 am or 11 pm
Rayam iPhone   11/7/2016   12:20 AM     Eric Snell      Jemell Rayam     Oh lol I was saying tonight but 25
Rayam iPhone   11/7/2016   12:22 AM   Jemell Rayam        Eric Snell     Oh. Thought u were saying tomorrow.
Rayam iPhone   11/7/2016   12:22 AM   Jemell Rayam        Eric Snell     That's wts up. Gd look.
Rayam iPhone   11/7/2016   12:22 AM   Jemell Rayam        Eric Snell     It's in there tomorrow morning?
Rayam iPhone   11/7/2016   12:23 AM     Eric Snell      Jemell Rayam     Like around 3ish same time. I'll let you know when it's there?
Rayam iPhone   11/7/2016   12:23 AM   Jemell Rayam        Eric Snell     Cool cool
Rayam iPhone   11/7/2016   12:24 AM   Jemell Rayam        Eric Snell     Thanks yo
Rayam iPhone   11/7/2016   12:27 AM     Eric Snell      Jemell Rayam     Np.
Rayam iPhone   11/7/2016    3:13 PM   Jemell Rayam       Ayesha Hood     I'm waiting on Snell now
Rayam iPhone   11/7/2016    3:59 PM   Jemell Rayam        Eric Snell     Yo u still gd for today
 Palmer Toll   11/7/2016    4:32 PM     Eric Snell      Lenard Palmer    22 Second Cellular Connection
Rayam iPhone   11/7/2016    9:16 PM   Jemell Rayam        Eric Snell     Yo bro everything straight .
                                                                         Yo my bad bro everything straight. I had got a lil caught up with work and kids today. Couldn't meet
Rayam iPhone   11/7/2016   10:15 PM     Eric Snell      Jemell Rayam
                                                                         up to grab that from him. I'm going to def. try to grab and put in there tomorrow.
                                                                         Ok. Don't mean to be hounding you but I'm jus telling people down here what u tell me. I thought
Rayam iPhone   11/7/2016   11:20 PM   Jemell Rayam        Eric Snell     everything would be straight today so I paid out my pocket this morning . I really need u to put it in
                                                                         there tomorrow
Rayam iPhone   11/8/2016   12:00 PM   Jemell Rayam        Eric Snell     591 Second Cellular Connection
Rayam iPhone   11/8/2016    1:13 PM   Wayne Jenkins     Jemell Rayam     Don't forget me today
Rayam iPhone   11/8/2016    2:31 PM   Wayne Jenkins     Jemell Rayam     Ram I'm leaving then you got to call me name


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   Source          Date        Time          From               To                                                            Message
                                                                           Sorry Esh . I pushed it back to Thursday.. Yo FaceTime me with "it" said it will b in tomorrow
Rayam iPhone     11/8/2016    9:44 PM    Jemell Rayam      Ayesha Hood     morning. Didn't want to chance so I
                                                                           rescheduled. This should all b over soon.
Rayam iPhone      11/9/2016   7:45 AM      Eric Snell     Jemell Rayam     Yo bro
Rayam iPhone      11/9/2016   8:06 AM    Jemell Rayam       Eric Snell     Wts up
Rayam iPhone      11/9/2016   8:07 AM    Jemell Rayam       Eric Snell     832 Second Cellular Connection
Rayam iPhone      11/9/2016   12:00 PM   Jemell Rayam       Eric Snell     Yo u do it yet
 Palmer Toll      11/9/2016   12:32 PM     Eric Snell     Lenard Palmer    7 Second Cellular Connection
Rayam iPhone      11/9/2016    1:00 PM     Eric Snell     Jemell Rayam     356 Second Cellular Connection
Rayam iPhone     11/10/2016    6:06 PM   Jemell Rayam       Eric Snell     357 Second Cellular Connection
Snell iPhone X   11/11/2016   12:18 PM   Lenard Palmer      Eric Snell     Yo this bitch nigga still got his bullshit but I got something for you
                                                                           Called to go over things with u. I'll jus text u then. I'm meeting with my brother and Snell this
Rayam iPhone     11/11/2016   12:29 PM   Jemell Rayam     Cherelle Rayam
                                                                           afternoon in Philly to pick up something. I'll b back the same day
Snell iPhone X   11/11/2016   12:20 PM     Eric Snell    Lenard Palmer     Ard. Where you wanna meet?
Snell iPhone X   11/11/2016   12:20 PM   Lenard Palmer     Eric Snell      Wya now
Snell iPhone X   11/11/2016   12:20 PM     Eric Snell    Lenard Palmer     On Frankford around my way
Rayam iPhone     11/11/2016    2:04 PM     Eric Snell    Jemell Rayam      162 Second Cellular Connection
Rayam iPhone     11/11/2016    2:08 PM   Jemell Rayam    Momodo Gondo      76 Second Cellular Connection
Rayam iPhone     11/11/2016    6:13 PM   Jemell Rayam    Cherelle Rayam    In philly it's going to b late… But I will def b home
Snell iPhone X   11/11/2016    8:48 PM     Eric Snell     267-779-1713     I'm sorry babe just playing the game
Rayam iPhone     11/12/2016   12:09 AM   Jemell Rayam     Ayesha Hood      I'm with my brother and Snell
Rayam iPhone     11/12/2016   12:09 AM   Jemell Rayam     Ayesha Hood      And my brother peep game
Rayam iPhone     11/12/2016   12:09 AM   Jemell Rayam     Ayesha Hood      This nigga acting different
Rayam iPhone     11/12/2016   12:09 AM   Jemell Rayam     Ayesha Hood      This nigga trying to get shit for even cheaper off me
Rayam iPhone     11/12/2016   12:10 AM   Jemell Rayam     Ayesha Hood      I took a lot of loses but during this I know who true friends are
Rayam iPhone     11/12/2016   12:12 AM   Jemell Rayam     Ayesha Hood      I know u don't want to hear this but I rather Gondo b in my business.. At least $ was never messed up
Rayam iPhone     11/12/2016   12:12 AM   Jemell Rayam    Momodo Gondo      Yo my nigga
Rayam iPhone     11/12/2016   12:13 AM   Jemell Rayam    Momodo Gondo      I got some real 💯💯 shit to say
Rayam iPhone     11/12/2016   12:16 AM   Momudo Gondo    Jemell Rayam      What's up
                                                                           With all the shit I've seen and dealing with "street" u, meaning "I" really find out who r really true
Rayam iPhone     11/12/2016   12:21 AM   Jemell Rayam    Momudo Gondo
                                                                           niggas..
                                                                           I think niggas have to experience the streets to really see how niggers are. Ain't that many 💯💯 niggas
Rayam iPhone     11/12/2016   12:22 AM   Jemell Rayam    Momodo Gondo
                                                                           out here

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   Source           Date        Time         From             To                                                      Message
Rayam iPhone     11/12/2016   12:23 AM   Jemell Rayam    Momodo Gondo      With that being said ....
Rayam iPhone     11/12/2016   12:23 AM   Jemell Rayam    Momodo Gondo      I never had a problem with u ... No homo... We a dying bried…
Snell iPhone X   11/14/2016    3:57 PM   Lenard Palmer     Eric Snell      Yo hit me up asap
Rayam iPhone     11/14/2016    5:06 PM     Eric Snell    Jemell Rayam      371 Second Cellular Connection
Rayam iPhone     11/14/2016    8:05 PM   Jemell Rayam      Eric Snell      Yo I'm on my way up
Rayam iPhone     11/14/2016    8:11 PM   Jemell Rayam    Tom Finnegan      Ummm…I'll b back late tonight…. So if u want we could jus meet tomorrow
Rayam iPhone     11/14/2016    8:18 PM   Jemell Rayam    Tom Finnegan      But I'll def have tonight
Rayam iPhone     11/14/2016    8:20 PM   Jemell Rayam      Eric Snell      Will u be able to meet me so I won't have to go all d way up
                                                                           Yo my bad… I was on my way and got word it's a no go for tonight… Have to wait till tomorrow
Rayam iPhone     11/14/2016   9:00 PM    Jemell Rayam     Tom Finnegan
                                                                           noon
Rayam iPhone     11/14/2016    9:04 PM   Tom Finnegan     Jemell Rayam     K
Rayam iPhone     11/14/2016    9:11 PM   Jemell Rayam     Tom Finnegan     Got something REAL big coming up..REAL big
Rayam iPhone     11/14/2016    9:39 PM   Tom Finnegan     Jemell Rayam     Sounds good
Rayam iPhone     11/14/2016    9:40 PM   Jemell Rayam     Tom Finnegan     Cool
  Snell Toll     11/14/2016    9:49 PM   Jemell Rayam       Eric Snell     1 Minute 31 Second Cellular Connection
  Snell Toll     11/14/2016    9:53 PM     Eric Snell     Jemell Rayam     2 Minute Cellular Connection
  Snell Toll     11/14/2016    9:54 PM     Eric Snell     Lenard Palmer    1 Minute 5 Second Cellular Connection
  Snell Toll     11/14/2016    9:55 PM     Eric Snell     Jemell Rayam     1 Minute 32 Second Cellular Connection
  Snell Toll     11/14/2016    9:57 PM     Eric Snell     Lenard Palmer    37 Second Cellular Connection
Rayam iPhone     11/15/2016    1:48 PM   Tom Finnegan     Jemell Rayam     ?
Rayam iPhone     11/15/2016    1:57 PM   Jemell Rayam     Tom Finnegan     It's coming. Jus don't have it in hand.. Smh..
Rayam iPhone     11/15/2016    1:57 PM   Jemell Rayam     Tom Finnegan     It's enough to last for sometime though
Rayam iPhone     11/15/2016    2:15 PM   Tom Finnegan     Jemell Rayam     Today?
Rayam iPhone     11/15/2016    3:10 PM   Jemell Rayam     Tom Finnegan     Not sure..
Rayam iPhone     11/15/2016    3:13 PM   Tom Finnegan     Jemell Rayam     Ard lemme know
Rayam iPhone     11/15/2016    3:14 PM   Jemell Rayam     Tom Finnegan     Mod def
Rayam iPhone     11/15/2016    5:04 PM     Eric Snell     Jemell Rayam     Yo
Rayam iPhone     11/15/2016    6:48 PM   Jemell Rayam       Eric Snell     Yo wts good
Rayam iPhone     11/15/2016   10:24 PM   Jemell Rayam       Eric Snell     Here
Rayam iPhone     11/15/2016   10:30 PM     Eric Snell     Jemell Rayam     Ok 20 out
Rayam iPhone     11/15/2016   10:35 PM   Jemell Rayam       Eric Snell     Cool
Rayam iPhone     11/15/2016   11:09 PM   Jemell Rayam       Eric Snell     613 Second Cellular Connection



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   Source          Date        Time          From                To                                                       Message
Rayam iPhone     11/15/2016   11:15 PM   Jemell Rayam      Tom Finnegan     On my way to u…I was waiting
Rayam iPhone     11/15/2016   11:15 PM   Jemell Rayam      Tom Finnegan     11:45
Rayam iPhone     11/15/2016   11:46 PM   Jemell Rayam      Tom Finnegan     5 min
Rayam iPhone     11/15/2016   11:49 PM   Tom Finnegan      Jemell Rayam     Unlocked everyone asleep
Snell iPhone X   11/19/2016   12:11 PM   Lenard Palmer       Eric Snell     Yo what we looking like
Snell iPhone X   11/19/2016   12:24 PM     Eric Snell      Lenard Palmer    No word. What are we looking like? Lol.
Snell iPhone X   11/19/2016   12:27 PM   Lenard Palmer       Eric Snell     He said tonight. Smh
Snell iPhone X   11/19/2016   12:27 PM     Eric Snell      Lenard Palmer    Smh
Snell iPhone X   11/22/2016    8:20 AM     Eric Snell      Lenard Palmer    Call me
 Palmer Toll     11/22/2016   10:04 AM   Lenard Palmer       Eric Snell     10 Second Cellular Connection
Rayam iPhone      12/5/2016    9:11 AM     Eric Snell      Jemell Rayam     Yo what's good bro? You good?
                                                                            Hell nah.. I got 2 open IAD complaints.. Kind of fucked me up.. Been chilling lately… Nothing on the
Rayam iPhone     12/5/2016    10:16 AM   Jemell Rayam        Eric Snell
                                                                            level of the streets but a lot of BS..
                                                                            Ard. I was seeing what's up. I didn't know if you had an issue with me or whatever. You haven't
Rayam iPhone     12/5/2016    10:18 AM     Eric Snell      Jemell Rayam
                                                                            been hitting me up.
                                                                            Yo never going to be an issue with us.. U know how I get when a lot on my mind .. Big head and all..
Rayam iPhone     12/5/2016    10:19 AM   Jemell Rayam        Eric Snell
                                                                            Lol…
Rayam iPhone      12/5/2016   10:19 AM   Jemell Rayam        Eric Snell     I'm about to leave this job
Rayam iPhone      12/5/2016   10:20 AM     Eric Snell      Jemell Rayam     I feel you homie. Cool, just making sure. Are they major IAD complaints
Rayam iPhone      12/5/2016   10:23 AM   Jemell Rayam        Eric Snell     Nothing on that level but I did some stupid shit that jus affects me so I've been quiet
Rayam iPhone      12/5/2016   10:23 AM   Jemell Rayam        Eric Snell     Like citizen complaints
Rayam iPhone      12/5/2016   10:24 AM     Eric Snell      Jemell Rayam     Oh man. You'll be cool. Fireable offenses?
Rayam iPhone      12/5/2016   10:24 AM   Jemell Rayam        Eric Snell     Man shit.. I'll call u n a few
Rayam iPhone      12/5/2016   10:24 AM   Jemell Rayam        Eric Snell     Lol, smh
Rayam iPhone      12/5/2016   10:24 AM     Eric Snell      Jemell Rayam     Lol Ard man
Snell iPhone X   12/11/2016    2:59 PM     Eric Snell      Lenard Palmer    Yo what's good
Snell iPhone X   12/11/2016    3:00 PM   Lenard Palmer       Eric Snell     Shit. Wassup
Snell iPhone X   12/11/2016    3:00 PM     Eric Snell      Lenard Palmer    What good with that bread?
Snell iPhone X   12/11/2016    3:00 PM   Lenard Palmer       Eric Snell     Im down here now tryna see wassup
Snell iPhone X   12/11/2016    3:02 PM     Eric Snell      Lenard Palmer    Ard




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   Source          Date       Time        From                To                                                            Message
                                                                         Yo I need a huge favor.. Was going to call but if i figure u may need sometime to think it over. Lol..
                                                                         Could u spot me 500 tomorrow. I'll pay u back the next day Friday when I get paid. Lol. I know it's
Rayam iPhone     1/25/2017   8:13 PM   Jemell Rayam       Eric Snell
                                                                         like "y not wait till Friday" but I'll explain everything to you if u can. If not its cool. But I figure I
                                                                         ask... Take ur time let me know though.. Thanks yo.. Lol
Rayam iPhone     1/25/2017   8:14 PM    Eric Snell      Jemell Rayam     Ok. I have to see. More than likely I can
                                                                         Yo I know u don't have it but I'm going to ask any ways. Spot me 500 tomorrow and I'll pay u back
Rayam iPhone     1/25/2017   8:14 PM   Jemell Rayam       Eric Snell
                                                                         Friday .. Or 250 and I'll try and get the rest from somewhere else
                                                                         Yo that will b Wts up.. I'll b in Philly tomorrow so I can come to u n d am.. And since there isn't a
Rayam iPhone     1/25/2017   8:15 PM   Jemell Rayam       Eric Snell     bank that I could put the $ back in for u.. I'll drive back up there on Friday (do u work Friday) and pay
                                                                         u back
Rayam iPhone     1/25/2017   8:16 PM   Jemell Rayam       Eric Snell     On everything it's jus a 24 hr loan
Rayam iPhone     1/25/2017   8:16 PM     Eric Snell     Jemell Rayam     Ok
Rayam iPhone     1/25/2017   8:16 PM     Eric Snell     Jemell Rayam     Naw I'm off Friday
Rayam iPhone     1/25/2017   8:17 PM   Jemell Rayam       Eric Snell     Ok.. Well I'll still drive back up there
Rayam iPhone     1/25/2017   8:17 PM   Jemell Rayam       Eric Snell     Thanks yo
Rayam iPhone     1/25/2017   8:17 PM     Eric Snell     Jemell Rayam     No prob.
Rayam iPhone     1/25/2017   8:17 PM   Jemell Rayam       Eric Snell     Yo I'm gd..
Rayam iPhone     1/25/2017   8:20 PM     Eric Snell     Jemell Rayam     I have court in the morning so you'll have to prob. Meet me downtown.
                                                                         That's cool. Jus let me know I'm on ur time. I'll prob be there around 10:00.. That's cool.. And I'll
Rayam iPhone     1/25/2017   8:28 PM   Jemell Rayam       Eric Snell
                                                                         explain everything to u then
Snell iPhone X   3/2/2017    6:01 PM   Lenard Palmer      Eric Snell     Missed Call




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   Source         Date       Time        From                To                                                     Message
                                                                        http://m.worldstarhiphop.com/apple/video.php?v=wshhOqNFa9GsW5r9JI1z




Snell iPhone X   3/2/2017   6:44 PM   Lenard Palmer      Eric Snell




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